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bol{ THL N(:)R-l‘|__[ERN r'\rt't-r‘r» lrvl' r`\l.` 1| l H\t{"\l¢-.I

1 s/\srset 06CV5556
JUDGE S|-|ADUR

tsaav A_ eovt-t 13, )
V Pl=“““tt» § |V|AG.JUDGE KEYS
uravsastrv or etnero, ) """""ft“iiri/ i`l`ri'dl Dsm'€mdélf""
Defendant. l
eoMFL/\n~rr

Plaintiff, [`Jr. .lerry A. Coyne, loy and t.l'troug,h his attorney as and for his eotnpl:-'iint

am F l L E D

 

 

the l_lniversit_v ofChieapj,o, states as follt_)ws: guy 1 3 2006 i'Q’
1 v |'ZZOS}:)
] he Pa_rtles M W. DQIMMB

m.\l.l.mml.|l"|

l. Plt-iiritift`, ilerry A. (;`o_vne1 l`-’h‘l`)_ is presently and at all times relevant hereto has been a

tenured professor in the l_)eparttnent of F.eolog,y and Ftvolution and the ("ollegiate [`)ivision of

 

Biologieal Seienees ofthe Llniversity ofC`,hieago. At all times material hereto, l`)r_ C.`.oyne
performed his duties for the University satisfaetorily and had a reeogniaed expertise in
evolutionary biolong and geneties. l~`or over 20 years, during his tenure with the l_lniversity1 l`)r_
Coyne si.ieeessl'ully si.ihrnitted proposals to the l“~lational lnstitute o|` l lealth (:“‘Nll 1") for federal
funding ol` his research in this area and. as a result of his proposals the l_.lniversity was awarded
federal funds1 ineluding, federal funds whieh funded the research at issue here.

2. l')efendant, the L|niversity of C`hieago is a not l"or profit et'n'poration ineorporated in
the State of lllinois with its principal plaee ol" ln.tsiness in C_Tltit::-tp,ts, ll_. L`)el`endt-`.uit reeeived
funding frorn the l"~llll to fund the researeh at issue here /\s a result ol`this rese:ii‘eln the
University was a joint aetor With the federal government and, as a precondition to reeeiving the

federal funds involved in the researeh here, was required to have and maintain written policies

 

 

 

 

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and procedures that met the rerjr..iiren'tents set forth in federal regul;-itions, inclt.ulin&.r,l adhering to
such reqt.iiren'icnts in conducting academic fraud investigr-itions at issue in the instant casc_

3. Defendant_, the l_lniversity t')t`t_Tliiet-tgo is thc P|aintiff’s ernployer.

4_ At all times relevant, L)r. CIhung-l Wu was the C.`hairman of thc l_)epart.n'ient of
ljcology and Evolution at the l.|nivcrsity c_it`("hicaj_{,o and f")r. tf`oyne`s in'micdiatc superior and
supervisor with control over terms and eont'iitions of [}r, t`_`.?oync’s employmcnt.

.l£jfisdiction

5. This suit is authorized and instituted pi.irsuant the C`ivil Rights Act1 42 l_i.t`~_`l.(f. ficetion
1983 and 1938, the First and Fot.irteenth Amendments to the l_lnited States Constitutiom and
Titlc 23 U.S.C. 2201 conferring upon any court ofthc l_lnited Statcs jurisdiction to declare thc
rights and other legal relations of any interested party in cases where there is an actual
controversy within its jurisdiction

6. Jurisdietion ofthis Court is provided under 28 l_l,.":`>.(`?_ Scction 133 l, 13¢l3` and 220]
and this CTtirirt’s supplementary jurisdiction relating to peru'lant state claims_

7, Vcnuc is proper in thisjudicial district pursue-tnt to 23 L_itf"_i.t`.`. Seetion llellW) and t cl
because the Defendant resides in and does bt.isincss in this districL and all o |`the events upon
Which this Complaint is based occurred in this district

Allea_ations Common__ to A|l Counts

S. Plaintiff has been a tenured faculty rnemhcr at the l__lnivcrsity of(Ihicago since l‘s)i`~§o.

9. C)n or about June 24` 2002, the University ofChieago renewed Dr. Coyne’s faculty
tenured appointments as Prt_)fessor in the Department of Ecolog,y dr Eyolution and in the
Collegiate Division ofBiological Sciences and to the l_tniversities’ Comnnittces on Evolutionary

Eiology and C.`omrnittee on (_icnetics for thc period chin 1`2002 through .lunc 30“ 200?»_

 

 

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10. On or about June 30, 2003, the t_|nivcrsity ol`C`hicag_o renewed L`Jr. Cfoyne`s faculty
tenured apr.)ointments as l-’rofessor in the f)epartmcnt of l_icology dr Evolution and in the
Collegiate Division ol`EioIogical Scicnees and to the l_lniversities’ (.`.omtnittees on E\.’olut.ir_m:-iry
Biology and Connmittee on (ienctics for the period July l, 2003 through June `50, 2004.

l 1_ Dr. Coyne’s appr_iint.rnent letters made clear that the University`s l"aculty Handbool<
is a part ofthe linivcrsity`s written contract ofernp|oyn'icnt with L)r. C`oyne. The tenure
appointments for each ofthe terms noted in paragrt-ip|"t 0 above stated that “some of the major

¢

terms and conditions ofyour employment at thc l`lnivcrsity ol'(`hicago"` were Lsubject to t'l)
provisions ofthe Htatutcs ofthe University. as :-tdoptcd or amended by the l_lnivcrsity`s lioard of
Trustecs, and other administrz-ttive policies ofthe l_.`niversity".

12. At all times relevant to the actions and events at issue in this complaint. under
lllinois law, the promises and policies contained in the l_lniv'ersity <_)l`Cl'iicago employee
handbook promising Dr_ Coync legal representation in the face of an academic fraud
investigation and indemnilication oft among other things, his attorneys` fees and costs incurred
in connection with such an investigation and in de|ense thcreofcret-tted en l`orccahle contractual
rights where as here they were expressly made a part of l`)r. Coync"s terms and conditions of
employment at the start of each tenure z-ippointmcnt and which were expressly and reasonably
relied on hy Dr_ (_Toytie in his continued employment with the l.|nivcrsity. l\/loreovci" at times
relevant hereto, under applicable lllinois law any ;-tmhigi.titics in these policies are construed
against the l_tniversity, the drafter of the provisions in the llandbool<.

13, Specil'ieally, at all times relevant to the actions and events at issue in this complaint,
The Um`ver'.sz`ty ty`{f'hic.'tzgo Fat_:u!r__i= Hcmu'hot;l!t promised in pertinent part that:

“Section VI: lnderrmitieation

 

 

 

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Slnee (:)clt')bet', l'l)l‘l l1 the l_lnivet'slty Fioat'cl ol`Tt'Listet%s have directed tb:tt:
lt is the policy ofthe l_lriiversity of (_Tliic:-igt) to defend and indemnity all
Univcrsity til"tfliitrityt_t,t_) |"aculty and prolessional employees for damages
which the employee may be legally obligated to pay because o|`any act
or omission arising out ofthe performance ofpi'ofessional services

by the employee on bel'ii-.ilfofthc tiniversity and within the scope of

the employec`s duties and responsibilities LT)ishonest, frauduleot,
criminal or malicious acts or on'iissit_ins of any employee are riot

covered by this policy.

Coverage shall include :-ittorneys’ fees and costs incurred in connection with the

investigation and defense of any covered claim or cause of aetion. 'l`he

tiniversity may investigate and settle any claims it deems reasonableq and

reserves the right to choose the attorneys_’1

14. At all times relevant to the actions and events at issue in this complaint, 'f'fir-'

Um`ve't".vi!__v Qf't'_'..`hicrtgo Ft:ir.'nfi'_v f'frrrtrft')or')fr provided the l_.'niversity l--‘olicy. .l*rocedures, and
Guidance Conccrning Acadcmic Frauds. which policies and procedures were required to
con form to federal regoli.ttions governing fcdert-tlly funded research and provisions relating to
protections for the acetised1 and, in pertinent part stated:

"lntroduction;

Acadeniic fraud is a threat to the intellectual integrity on which

the advancement of knowledge dej_iend.~",l Academic fraud can taint
the reputatit_iii ofthe l_§niversity and ofits honest scholars and

researchers , . . _ “
and

“Section 4: investigation lnto 'l`he Fact ofFraud:
34 114 >P!

B_ 2_ Rr'gfits ofthe Pt-:rs'cn C..`hnrgarf
. . . `l`he party charged shall have the right to bc accomj'ianied by a
lawyer or any other person at any proceeding in which thc party
charged has a right to be present _ _
l_"S_ Fl`he Poliey provides that the institution’s officials conducting the inquiry and if

warranted an investigation will tal<c interim adniinistt'ati\.»'c action appropriate to protect chera|

and other funds and ensure that the purposes of any cheral or other financial assistance arc

 

 

 

 

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being carried out, Scction I, General Considerations.

lo_ FI`be policy states further that the Universityis Folicy “scel<s to insure proper
investigation of all charges_ "`vvhile providing an important check against sustaining false
charges and protecting individi.ials responsible for the investigation from allegatii_ais of bias."
Any investigation made pi.irsuant to this section determines only whether fraud has been
eon'irnitted; "it has no disciplinary funetions, . . ." tl"art ll ofthe l_lnivcrsity |*olic_v)_

17. l~./loreover1 at times relevant hereto1 under applicable illinois law.l ambiguities in
these policies were construed against the l_lniversity1 the drafter of the provisions in the
Handbool<_

lt~'i. Iu or about l"ebruary 2003, Dr. Anthony .l. Greenbcrg. .lennifer R. l\/loran and Dr.
and Professor Chung -I Wu ofthe tiniversity of (_`.hic;-tgo`s Departnient ol"l_"coh_igy and
L"volution requested that Dr. Coyne perform certain biochen'iical analyses on their tr;-uisgcnic
(genetieally alt.ei'et‘f) lines of fruit llics to determine ifthe transfer of geucs had been successful
with the stipulation that f)r, Cloyiie would bc a co-at.ithor if any paper resulting from this
collaboration were submitted to a scientific journal

19. 'fhercal`tcr, in or about february 20031 Dr, t`_`.`oync perti_)rinct;l the requested tests and
provided the results and data to Dr. Cireenberg_

20. ln or about Dcccniber 20021 an article based upon f)rs_ Wu and tireenberg and lvls,
t\/Ioran’s workr titled “F.cological Adaptation During incipient Speciation Revcaled by Prccise
(`iene Replt-icement” was published in the journal, .S'r.'i`r-:rir;'c. (l_`)ecen'ibcr 5, 2003, Volume 302, pp
l?§¢l-l'i':i?_). Dr. (_loyne cti-authored the worl<. l"unding for the work was provided by l\iatit_inal
Institutes of Hcalth t_‘“NIl-I") grants to f)r. (Tlitiiig-I Wu and Dri C.`oyne and an hill-l National

l.{eseareh Service Award tellowship to Dr. Ant|iony (h'eenberg_

 

 

 

 

 

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21. As a result of the ]"~.‘-li-l funding, the research that produced the article was subject to
the Dcpartment of Health and Hurnan Scrvices (`“HHS"} guidelines relating to research
misconduct

22. in or about .iuly ti, 2004 through Deceniber_, 2004, Dr. C.`oync and his assistant i\/ls.
Susannah L"lwyn performed tests of mating discrimination and cold and starvz-it.ion resistance not
previously performed by him on the transgenic lines submitted to him by f)r_ Chung-i Wu__ Di'_
(_ireenberg and Ms. Moran, and found that, contrary to the results ofthe worit performed by l)rd
Chung ~l Wu, I)r_ fireenberg1 and l`vls. lVloran and described in the lfictiontvJ paper, the effects of
the transfer ofgenes on cold and starvation resistance could not be rcplicated, undermining
major results and eonclusit.)ns ofthe article [.`tr_ t`_`oyne had been aslted to co-author in .‘i`r't'c.vu:r-'.

23. In or about late Novcrnber 2004. f)r. t.`.oyne informed his CThairn'ian and cr_)-:-nit.hor
and colla.borator, Dr. Wu. that he (f_)r. Coync) had been unable to replicatc tiie environmental
tolerance results of f)r_ Wu, Dr. Greenberg, and l\/ls. lvloran underlying the i'S`r't`et-ice article and
that he (Coyne) would be forwarding a manuscript ofa proposed article for the scientific
journal, evolution that addressed the discrepancy between that research and his ((_".oyne`s)
findingsl

24. in or about Deccniber fit 20041 i_)r. L`.`.oyne forwarded to l')rs. Wu and (ircenberg_ and
ivis_ Moran, a manuscript ofa proposed article titled "l_)oes "|`he /.`)r-'.i'tntir'rtrt-'-2 and l_ocus in
Dr'os'o;')hi`i'n ./i/i't-'i'onogr.trter (_`ausc Adaptation and Fiesuai lsol;-ttion`?" leo-authored by .”vis.
Elwyn) for publication in the journal Evr)/uii`on, which further research and article stated that
1)r. C.`.oyne could not replicate the effects on environmental stress tolerance of the transgenic
lines which were the subject of the f)eccmbcr 2003 article in .S'ci'rvice. Thcse findings

undermined the results Drs. Cireenberg and (_Thung ~l Wu and l\/ls_ Moran claimed to have

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g¢hi¢\,m-j in lhch tmm;gelm; r¢:gl.j;.jrel'i_ 1)r. Coyne proposed to t.`tr_ Wu that be (1.)1‘_ Wu)` 1`)1'.
C]reenberg, and Ms_ 1\/loran co»author this article with t`Jr, Coyue_

25. in or about .lanut-tl`y 5. 2005 f)i'_ ("oync sul“niiiti'ed the article to fi`t-‘r')f.'i!."r)tt with co
auti'n‘)r fittsannah illwyn of his iat'ioratory'1 that article was accepted for publication in and
around |'vlarch 13, 2005. Dr. C.?t;iync"s article reporting discrepancy in research results underlying
the ..‘i`cr.`encr-.' article constituted an expression about matters o f public concern, to wit: the
accuracy and integrity of research in the public domain on the subject t_)fcvolutionary biology_

2d ()n or about 1\/1arch 21, 20051 Dr. Wu conceded to Dr_ Coyne that he1 1_)r. Greenberg
and Ms_ 1\/loran knew “wherc thc big discrepancies came froni”. instead1 however, ofagrecing
to co-a.t.itbor f)r_ tjoync`s article in which thc research discrepancies were noted and in
retaliation for Dr. Coync”s exercise of his free speech rights in submitting for pi.ii‘ilieation the
accepted Evm't.tti'r_)n article1 the three caused tJr. (`_`"oync to be referred to thc tiniversity for
luvestigation, wholly without basis and on lite grout`td that ifth (_`oync`s article included
experiments on mating discrimination which they alleged were stolen. when, in truth and iu
fact_, as they well knew at the time, l)i'. Coyne had been engaged in experiments on rnating
discrimination in populations ofthcsc files since 1092 This referral was done in reta|i:-ition for
Dri (_?oyne’s Fvoi’rrri`rm article criticizing 1`)r. Wu`s__ Dr. (_ireenberg and l\/ts. h/tor:-.tn’s research
and was designed to aan had the purpose and effect of infringing on 1')r_ t_".oyne’s free spcceh. by
suspending the publication of t)r_ (i_lt)yiie’s Evott,itt'oa article disclosing t.n'n‘epeatt-ible research
results reported by Dr. Wu. 1')r, (_ireenbcrg and 1\/1s. Mt_iran. ivloreovcr. er. Wu, 1_1r_ (ii'eenberg
and Ms. iVloran well knew that they themselves could not replicate their former results

27_ Moi'cover, despite the fact that on or about August 3, 2005, the t_")f|ice ot`}'teseareh

integrity ("()Rl") for llllS concluded that the alleged conduct of 1")r_ t"oyne did not constitute

 

 

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research misconduct under the appropriate standards, and despite the tjniversity`s own policy
that any investigation should cease should it become clear that academic fraud was not
invoived, the liniversity nevertheless proceeded with its ii'ivestigation._ only to conclude on or
about ()etobcr 12, 2005 after suspension of thc publication ofL)r. C.`oyne’s article revealing the
errors in 1')r. Wu, (ireenberg and Ms. i\/lt_iran"s rcscarcl't that l)r_ C.`oyne did not engage in
acadet‘nic fraud but, rtcvertl'teless, t`eeotttnicnding that his ffi-fr)ftrlt`r)n article not be published

2d 1_)11 C.`oyne incurred in excess offiil 151100 in reasonable i'ittt'irncys` fees and costs in
defending against the baseless academic fraud investigation instigated by f`)r_ \Jv'u1 i_)r.
Grcenberg and i\/ls. Moran. Dcspitc repeated requests and dern:-inds made by Dr‘ tjoyne upon
the 1_1niversity for reimbursement ot"attorncys1 fees and costs under its indemnification poiicy,
the thiiversity has persisted in its refusal to reimburse Dr. Coyne |`or his attorneys’ fees and
costs incurred in the investigation

29. h/'ioreover, in or about l`_)ecember 2005~ in furtherance of the de|endant`s efforts to
infringe on l')r_ t"_?tiyiic`s freedom of speech. to deprive linn ofhis protectt-ibie and contractual
property interests in being reimbursed for his :-ittorneys fees and eosts, and as further
harassment1 Dr. Wu reconu'ni;‘.nded to the dean that l.ir. f`oyne be gr;-tnlcd only a t).*)‘?/ii increase
for the 2006-2007 acadei'nic ycar. /\t that time, the average increase for the [.`)ej')artment was
2%, making the 0_9"1» increase well below average The dealt adopted 1'1r. Wu’s
recommendatit'ni despite the fact that there was no basis to conclude that f)r. C.`oyne`s
performance was substantially less than his peers_ indecd, upon a protest1 reviewed by someone
other than Dr. Wu, lDr. Coyne was later granted a `_`i% increase, reflecting the fact that his

perfornu-ince was in fact above i.ivcragc.

 

 

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fig LlS.(_j. 't"i_!i'-.Cttiol‘t 1933
Deprivation ot' Propertv lntercsts |1_1 `Vio|ation of the
l"`ourteenth r\n'tendment Du_e Process (_`.lause

30. Plaintifff_)r. Coyne incorpt;irates herein as if fully set forth paragraphs l-Z‘i) of this
Complaint as and for part-tgraphs 1-29 of`(f?ount l.

3l. l-‘laintiff l')r. Coyne had a contractual and legitimate property interest and claim of
entitlement to indemnification for attorncys’ fees and costs incurred in connecticut With thc
Univcrsity"s investigation and f_)r. Cft_)yi'tt=`s defense of academic fraud allcgr-it.ions_

32, This contractual and legitimate claim for inden'inifictition and [:iz-iymcnt ot`attta'neys`
fees and costs ct"n'istitute a protectable property interest that cannot be tai-ten away witl'ioot due
process.

33. fn thc instant case, despite f)r_ Coyne“ by the acts ofdefendant. has been
intentionally deprived of his contractual and property interests in and to indemnifieation and
reimbt.irsement ofhis attorneys fees and costs, without due process in that Plaialif`l`s repeated
requests for indemnification and reimbursement under the terms of his contract with the
University have been arbitrarily, mr-tliciously and wilfully ref`uscd.

34. Plaintiff performed and continued to perform all conditit_)ns precedent to his
contractor-il duties as a tenured professor with the t_lniversity of (i`hicago.

W`f|F.Rhl~`t`)f{E. f’laintif`f respectfully requests that this tjourt declare and mandt-.ite that
the tlttiversity ofC`.hicago is in violation of his contractual ol')ligations by failing and refusing to
honor its contractual obligations to inden'inify l’laintiff`s ret-isorn.ib|e i-ittorncys fees and costsl
incurred in connection with thc l_fniversity’s aca-tdcrnic fraud irivesti‘t_;t-ition1 declare that the
Univcrsity has arbitrarily and maliciously and without due process refused and failed to honor

its eontrt-ictt.tal obligation has deprived Plaintiffof his protectable property interest without due

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process and continues to refuse to pay f_)r. CToyne`s reasonable :-tttrn'ncys` fees and costs under
the indemnification provision and award f’|aintif`f in excess of`t`liZ_‘itlrtlt)tl in aetuaf.
compensatory, and punitive damages as well as attorneys fees and costs incurred in connection
with ret'lressing the violation of` his eonstiti.itional rights` and such other relief as this court
deems just and propcr_
Mbllll
42 l_lS.C. Section 1983

Deprivation of` First Amendment Righf.s

To Exercise Free Speeeh l+`ree From Retaliation

35_ Plaintiff Dr. C`oyne inct_irpori.ttes herein as if fully set forth paragraphs t-`B~“i ofthis
(.Ion'iplaint as and for paragraphs 1-34 t')f`(_`.ount ll.

36. filaintif`f`l')r, Coyne"s First ./\mendmcnt right to exercise his frccdt.)m ofs]'icecli in
publicizing the discrepancies in research underlying a published article was well established and
defendant`s actions in pursuing a baseless academic fraud complaint which resulted itt
suppressing Coyne’s rept_)rting of these findings were not t_ibjeet.ively reasont-iblc.

31 l'_)r. Coyne`s speech1 contained in his article titled “l')ocs The lJc.vt'iri.rro.vt-.'-3 and
Loeus in l_`)rosopftt`fa Mefaaogosrer clause /\daptation and Sesual lsolation`?"’ for publication in
the journal Ei»’ofzttt'on was in the public interest as it touched upon a matter ofpnblic concern
that Was the subject of published research and. thus, was not speech in his capacity as an
employee ol`the defendant, buf, rather" as a citix.e.u cs|".u‘essirtg the results of` his personal
research on disputed matters ofpi.iblic opinion_ fndecd, del"t-:ndant"s own policies reci_)gnixcd
academic integrity is crucial to the advancement of knowledge Morcover, in the instant casc.
public NlH monies received by [)r, C`oyne as well as l)rs_ Wu, Greenberg and h/ls_ .\/loran

funded thc research underlying the Science art.icle_ tinder these ctrcuinstances1 the defendant

lfl

 

 

 

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did not have an adequate jtistificatioii for treating f)r. Coyne`s report of testing results as
contained in the livolution article differently from any other ptiblicatit')ii by a member ofthe
public and University. l-‘ersisting iri a baseless academic fraud investig:-nion which involved
suppressing Dr. Coyi'ic"s llvofutiori article and report of"test results is not a ret-isonab|c
restriction on l'.)r. (fYoync`s speech. The result is among other things to deprive ilic public of
iiifbrmed opinions on issues of public iiiipt')rtance; to wit: thc accuracy o[`a widely cited
scientific paper dealing with issues ofevolutionr-iry biology_

33. l')espite L)r. lWu’s admission ofthese discrepancies and in violation ofthese rights1
defendant conducted a baseless academic fraud investigation initiated by tvls. l\/toran in concert
with l')rs. Wu and Greenberg as a means of retaliating against and suppressing and infringing on
L)r. C.`.oyrie’s i'ight to publish an article detailing the discrepi-ineics between results of l')r_
(_`oyne’s and that ofl`v'ls. t\/foran`s, I)r_ Wu"s and l')r. tirecnberg’s transgenic research.

39. Moreover, even after the Of`fic.e of integrity of Rescarcli integrity ofthe blational
ftistitutes off-lealtli found no evidence of acadei'nic fraud, the l_liiivcrsity persisted in its
investigation, ultimately concluding that l`)r_ t`_Toyne did not engage in academic fraud but
succeeding iii delaying pt.il_)lication of his article revealing the discrepancies iii f.)r. \»\/'u`s1 f`)r.
Cireenberg‘s and Ms. lvforai'i"s research in violation ofer. t.i‘i')y‘iie’s first arrieiidnient right_

Further1 even after clearing f_)r. Coyne ofthe academic fraud investigation, the defendant
recommended that Coyne’s article revealing the discrepancy iii results between l_)r. C`.oyne`s test
results and that of`l`)r_ Wtit f_)r. Cireenberg and Ms. f\/loran not be published thereby suppressing
the fact that irriportant scientific result could not be replicated.

- 40. f)cfei'idant acted knowing and intelligently and with reckless disregard ofl_)r_

Coyne’s First /\mendnient rights7 by infringing upon [)r. (_`oyne’s free speech.

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Wl'fEREF(`JRE, f’laintiff respectfully requests that this C`oiirt declare and mandate that
the i_lniversity of Chicago is in violation of his First Amendi'iient rights of free f:`»peceh by
conducting and continuing a baseless investigation into alleged academic fraud designed to
infringe on f)r. (onne’s free Spccch righ|.s, and award Plaintiffin excess of`$ZSt},t`)t)O in actttal.
compensatory, and punitive darriages as well as attorneys fees and costs incorrect in connection
with redressing the violation of his coi'istitutioni-il rights, and such other i'elief as this court
deems just and proper.

warth of (.`oiilr_ac_t

4 l. Plaintiff l_')r. t.`.oyne incor|”iorates herein as if fitlly set forth paragrapf'is l-llt) of this
Complaint as and for paragr;-ipl'is 1~40 of(_iount lfl.

42_ Plaintiff f)r, (_Toyite’s contract with the Llniversity included the Faculty llandbool<
provision granting the right to indeii'inific;-ition for at.torneys:l fees and costs incurred in
connection with the llniversity’s investigatit'in and f)r. (Toyne`s defense of academic fratid
allegations

43. Dr. (onne relied on this promise of indemnification as a term and corit'fition of his
employment and his continued employment with thc t_Jniversity as a tenured prof`esst'ir_

44. iii the instant ease, moreover. the Faculty flandbt')ok created a specific right for f)r.

(.`oyne to employ counsel in defending against academic fraud allegations

 

 

 

 

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45. Plaintiff has made repeated dermatitis upon defendant for payment of his attomeys’
fees and costs incurred by him in defending against the University’s academic fraud investigation
and defendant has repeatedly refused to honor its contractual obligations

46. Plaintiff has performed all conditions precedent to exercising his contractual claim to
indemnification

WHEREFORE, Plaintiff respectfully requests that this Court award him his contractual
right to indemnification for his attorneys’ fees and costs incurred in connection With his defense
of the Uriivcrsity’s academic fraud investigation

RESPECTFULLY SUBMITTED,

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